                     Case 23-50444-JTD      Doc 56        Filed 10/23/23   Page 1 of 2




                                         919 MARKET STREET, SUITE 1800
                                                P.O. BOX 2087
                                         WILMINGTON, DELAWARE 19899
                                               www.lrclaw.com
Adam G. Landis                                                                 Telephone: (302) 467-4400
Direct Dial: (302) 467-4410                                                    Facsimile: (302) 467-4450
Email: landis@lrclaw.com


                                            October 23, 2023

Via CM/ECF and Email
The Honorable John T. Dorsey
United States Bankruptcy Court
District of Delaware
824 N. Market Street
5th Floor, Courtroom 5
Wilmington, Delaware 19801

          Re:        FTX Trading LTD., et al., v. Platform Life Sciences Inc.,
                     Adv. Case No. 23-50444 (JTD) – October 24, 2023 Hearing

Dear Judge Dorsey,

         This firm is co-counsel to FTX Trading Ltd. and its affiliated debtors and debtors-in-
possession (collectively, the “Debtors”) in the above-referenced matter. The Debtors submit this
letter in response to Platform Life Sciences, Inc.’s (“PLS") letter [Adv. D.I. 55] (the “PLS
Letter”) regarding the hearing scheduled for October 24, 2023 and its pending motions to dismiss
[Adv. D.I. 35, 37] (the “Motions to Dismiss”).

        On September 13, 2023, a status conference (the “Status Conference”) was held in the
above-captioned matter at which the Court set a briefing schedule for the Motions to Dismiss and
scheduled argument for October 19, 2023. As the Court is aware, the October 19th hearing with
respect to the Motions to Dismiss initially was contemplated to be limited to oral argument and
would proceed virtually given courtroom limitations on that date. See Sept. 13, 2023 Hr’g Tr. at
38:15-24. Following the Status Conference, on September 15, 2023, PLS filed the Motions to
Dismiss and the Declaration of Dr. Edward J. Mills in Support of Motion Under Rule 12(B)(2) to
Dismiss the Complaint for Lack of Personal Jurisdiction on Behalf of Platform Life Sciences,
Inc., a Canadian Corporation [Adv. D.I. 36] (the “Mills Declaration”). In addition, on October
6, 2023, PLS filed a supplemental Mills Declaration [Adv. D.I. 46] (together with the Mills
Declaration, the “Declarations”).

       On October 17, 2023, the Debtors filed the Notice of Rescheduled Hearing Date [D.I.
3297; Adv. D.I. 52] (the “Notice”) adjourning the October 19th hearing to October 24, 2023 at
10:00 a.m. (ET). As set forth on the Notice, PLS, like other parties in interest, were informed



{1368.002-W0073090.2}
                  Case 23-50444-JTD        Doc 56     Filed 10/23/23      Page 2 of 2

The Honorable John T. Dorsey
October 23, 2023
Page 2

that the October 24th hearing would be conducted in person consistent with the Chambers
Procedures for Judge John T. Dorsey (the “Chambers Procedures”).

        The Debtors understand that PLS may rely on the Declarations of Dr. Edward J. Mills in
connection with the Motions to Dismiss. To the extent PLS intends to present testimony by
declaration or otherwise at the rescheduled hearing, the Debtors would expect any such witness to be
present in the courtroom and available for cross examination in accordance with the Chambers
Procedures. The Debtors have not consented and will not consent to PLS having any witness or
declarant appear via Zoom.

       As directed by the Court, the parties are conferring regarding their availability for an in
person hearing on the Motions to Dismiss. The parties will advise the Court once a date is
confirmed.



                                                Very truly yours,

                                                /s/ Adam G. Landis

                                                Adam G. Landis




{1368.002-W0073090.2}
